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                 Exhibit 11N
                  9/11 SUPPORT
        - EXCERPTED IMAGES -

                    =   Plaintiffs’ provisional redactions ("ppr")
                        of certain images, made subject to
                        Plaintiffs’ reservation of rights to challenge
                        or supplement later. ECF No. 9885.
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 EX. 11N – 9 /11 SUPPORT – ADDITIONAL SCREENSHOTS




                                        MPS999x_4017_5
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 EX. 11N – 9 /11 SUPPORT – ADDITIONAL SCREENSHOTS




                                          MPS704_70




                                         MPS713_11
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 EX. 11N – 9 /11 SUPPORT – ADDITIONAL SCREENSHOTS




                                    MPS2023-035 at 1:50:30




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